Case 2:20-mc-50410-SFC-DRG ECF No. 1, PageID.1 Filed 03/13/20 Page 1 of 21




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
Matthew Hesselbacher, et al.      §
                                  §
                                  §
       Plaintiffs,                §
                                  §
v.                                §
                                  §
                                  §
Ford Motor Company, a Delaware    §                Subpoena issued in:
corporation                                     Case No. 2:18-CV-04777-
                                  §                        DLR
                                  §             Pending in the U.S. District
       Defendant,                 §              Court for the District of
                                                         Arizona
                                  §



     NON-PARTY ZF ACTIVE SAFETY AND ELECTRONICS US LLC’S
       MOTION TO QUASH SUBPOENA AND BRIEF IN SUPPORT




                                      i
Case 2:20-mc-50410-SFC-DRG ECF No. 1, PageID.2 Filed 03/13/20 Page 2 of 21




                      MOTION TO QUASH SUBPOENA

      Non-party ZF Active Safety and Electronics US LLC (formerly known as

TRW Automotive U.S. LLC) (“ZF ASE”) moves this Court to quash Plaintiff’s

subpoena to testify at a deposition and produce documents under Rule 45, FED. R.

CIV. P. because the subpoena imposes an undue burden and seeks highly proprietary

and confidential information and documents that are neither relevant nor necessary

for Plaintiff’s claims. The subpoena arises out of the underlying lawsuit Matthew

Hesselbacher v. Ford Motor Company, Case No. 2:18-CV-04777-DLR, pending in

the United States District Court for the District of Arizona. ZF ASE did not supply

pedestrian or cyclist avoidance technology for the 2013 Ford F-150 at issue in the

underlying lawsuit, yet Plaintiff’s subpoena commands ZF ASE to provide a

corporate representative to testify regarding any Forward Collision Avoidance

Technology (“FCAT”) product supplied or offered for sale by ZF ASE to any

automotive manufacturer for any vehicle from 2004 to 2013. The subpoena also

requires ZF ASE to search for and produce vast quantities of highly confidential and

proprietary documents and materials corresponding to the deposition topics.

Plaintiff’s demands significantly exceed the scope of discovery previously ordered

by an Arizona federal court judge in a similar FCAT lawsuit involving the same

Plaintiff’s attorney and in which non-party ZF ASE also received a similar subpoena

and deposition notice. Therefore, the Court should quash the subpoena because



                                         ii
Case 2:20-mc-50410-SFC-DRG ECF No. 1, PageID.3 Filed 03/13/20 Page 3 of 21




compliance would impose an undue burden and require disclosure of trade secret or

other confidential information. Non-party ZF ASE’s Motion is based on and

supported by the accompanying Brief in Support and the supporting exhibits.

                      CERTIFICATE OF CONFERENCE

      As required by Local Rule 7.1(a), counsel for non-party ZF ASE met and

conferred with counsel for Plaintiff by an exchange of e-mails and multiple

telephone conferences to discuss in detail the objectionable scope of the subpoena

that forms the basis for this motion, and to attempt to coordinate agreed limitations

and alternative scope of the deposition. These communications are described in

detail in the Factual Background section of the supporting brief below. Despite these

efforts, the parties were unable to reach agreement regarding the scope of the

deposition, and it became necessary to file this Motion.




                                         iii
Case 2:20-mc-50410-SFC-DRG ECF No. 1, PageID.4 Filed 03/13/20 Page 4 of 21




              BRIEF IN SUPPORT OF NON-PARTY ZF ASE’S
                   MOTION TO QUASH SUBPOENA


              CONCISE STATEMENT OF ISSUE PRESENTED

      Is a subpoena that commands a non-party to expend potentially hundreds of

man-hours to search for and produce confidential commercial materials for Forward

Collision Avoidance Technology products in vehicles that are not at issue in the

underlying lawsuit unduly burdensome, overly broad, and subject to quashing under

FED. R. CIV. P. 45?

      Answer:         YES, the subpoena should be quashed.




                                         iv
Case 2:20-mc-50410-SFC-DRG ECF No. 1, PageID.5 Filed 03/13/20 Page 5 of 21




                    CONTROLLING AUTHORITIES

    1. Fed. R. Civ. P. 26.

    2. Fed. R. Civ. P. 45.

    3. Hansen Beverage Co. v. Innovation Ventures, LLC., 2009 U.S. Dist.
       LEXIS 46217 (E.D. Mich. 2009).

    4. Spartanburg Reg’l Healthcare Sys. v. Hillenbrand Indus., 2005 U.S. Dist.
       LEXIS 30594 (W.D. Mich. 2005).




                                     v
 Case 2:20-mc-50410-SFC-DRG ECF No. 1, PageID.6 Filed 03/13/20 Page 6 of 21




                                         TABLE OF CONTENTS

                                                                                                                        Page

MOTION TO QUASH SUBPOENA ....................................................................... ii

CERTIFICATE OF CONFERENCE....................................................................... iii

BRIEF IN SUPPORT OF MOTION ........................................................................iv

CONCISE STATEMENT OF ISSUE PRESENTED...............................................iv

CONTROLLING AUTHORITIES............................................................................ v

TABLE OF CONTENTS ..........................................................................................vi

INDEX OF AUTHORITIES................................................................................... vii

    1. FACTUAL BACKGROUND.......................................................................... 1

            a. The Arizona Lawsuit ............................................................................. 1

            b. Plaintiff’s Subpoena and the Parties’ Meet-and-Confer Efforts ........... 2

    2. ARGUMENT AND AUTHORITIES ............................................................. 5

            a. Authority for Quashing a Subpoena ...................................................... 5

            b. Plaintiff’s Subpoena is Unduly Burdensome ........................................ 6

            c. Plaintiff’s Subpoena Requires Disclosure of Confidential Information
               ............................................................................................................... 8

            d. Plaintiff Cannot Demonstrate ZF ASE’s Confidential Business
               Information is Relevant or Necessary ................................................... 9

    3. CONCLUSION.............................................................................................. 12




                                                            vi
 Case 2:20-mc-50410-SFC-DRG ECF No. 1, PageID.7 Filed 03/13/20 Page 7 of 21




                                       INDEX OF AUTHORITIES

CASES

Allen v. Howmedica Leibinger,
         190 F.R.D. 518, 526 (W.D. Tenn. 1999) .................................................... 10

Echostar Communs. Corp. v. News Corp. Ltd.,
       180 F.R.D. 391 (D. Colo. 1998) ................................................................. 12

Graham v. Casey’s Gen. Stores,
      206 F.R.D. 251 (D.C. Ind. 2002) ................................................................ 12

Hansen Beverage Co. v. Innovation Ventures, LLC,
       2009 U.S. Dist. LEXIS 46217 (E.D. Mich. 2009) .................................. 6, 12

In re Smirman,
        267 F.R.D. 221, 223 (E.D. Mich. 2010) ..................................................... 12

Spartanburg Reg’l Healthcare Sys. v. Hillenbrand Indus.,
       2005 U.S. Dist. LEXIS 30594 (W.D. Mich. 2005)...................5, 6, 8, 10, 11

Wells Fargo Bank. N.A. v. MPC Investors,
       2010 U.S. Dist. LEXIS 84600 (E.D. Mich. 2010) ........................................ 5

Wiwa v. Royal Dutch Pet. Co.,
       392 F.3d 812, 818 (5th Cir. 2004).................................................................. 6


STATUTES AND RULES

FED. R. CIV. P. 26 ....................................................................................................... 5

FED. R. CIV. P. 45 ................................................................................................. 5, 12




                                                            vii
 Case 2:20-mc-50410-SFC-DRG ECF No. 1, PageID.8 Filed 03/13/20 Page 8 of 21




                            1. FACTUAL BACKGROUND

A.        The Arizona Lawsuit

          ZF ASE is not a party to the underlying litigation. In his Complaint, Plaintiff

alleges his decedent, Pamela Hesselbacher, was walking with her two children, R.H.

and A.H., through a crosswalk in Chandler, Arizona on November 12, 2016.

Plaintiff’s First Amended Complaint, Ex. A, at ¶¶ 9-12.              William Epperlein

disregarded a red light and drove his 2013 Ford F-150 pickup truck (“subject

vehicle”) through the crosswalk and struck Mrs. Hesselbacher and her children. Id.

at ¶¶ 13-18. Mrs. Hesselbacher died as a result of her injuries, and the children

sustained serious and permanent injuries. who sustained serious head injuries and

was pronounced dead shortly after the accident. Id. at ¶¶ 20-21. Plaintiff asserts

causes of action for products liability, wrongful death, and negligent infliction of

emotional distress against only Ford Motor Company (“Ford”), the vehicle

manufacturer, and contends the truck should have been manufactured with a forward

collision avoidance system that included pedestrian collision detection/avoidance.

Id. at ¶¶ 68-90.

          ZF ASE is a supplier of Driver Assistance Systems (“DAS”) products to

original equipment manufacturers (“OEMs”) but did not supply pedestrian or cyclist

avoidance features for the subject vehicle. Affidavit of Emanuel Goodman, Ex. B,

at ¶ 4.



                                             1
Case 2:20-mc-50410-SFC-DRG ECF No. 1, PageID.9 Filed 03/13/20 Page 9 of 21




B.    Plaintiff’s Subpoena and the Parties’ Meet-and-Confer Efforts

      On October 28, 2019, Plaintiff issued a subpoena for a deposition of ZF ASE’s

corporate representative with accompanying lists of deposition topics and document

requests. Subpoena to Testify at a Video Deposition in a Civil Action and Amended

Notice, Ex. C. The deposition was unilaterally noticed for January 7, 2020, at a hotel

in Romulus, Michigan. Id. Plaintiff’s deposition topics broadly sought any and all

information related to FCAT products that ZF ASE offered for sale and/or use to any

OEM from 2004 to 2013, including the general characteristics, pricing, performance

criteria, capabilities, specifications, and actual field performance of such products.

Id. The document requests similarly sought all catalogues, brochures, price lists,

design documents, specifications, bids, invoices, requests for proposal, and

statements of work for the above-referenced FCAT products. Id. The topics and

requests sought all communications between ZF ASE and Ford regarding all FCAT

products from 2004 to 2013. Id.

      Shortly after service of the subpoena, ZF ASE’s counsel contacted Plaintiff’s

counsel to confer regarding the subpoena’s scope and outlined the objections

detailed in this motion. In an effort to avoid a deposition but still provide some

documents responsive to the subpoena, ZF ASE and Plaintiff reached an agreement

to extend the time for ZF ASE to object to the subpoena and/or file a Motion to

Quash in exchange for a limited production of discrete brochures, marketing



                                          2
Case 2:20-mc-50410-SFC-DRG ECF No. 1, PageID.10 Filed 03/13/20 Page 10 of 21




materials, and customer presentations from 2006 to 2009. E-mail exchange dated

November 25, 2019, Ex. D. Because the protective order entered in the underlying

lawsuit did not apply to non-parties’ documents, the parties agreed they would file a

stipulation extending the protective order to non-parties. Id.

      Plaintiff’s counsel is serving as counsel in another FCAT case pending in

Arizona federal court, Shunlun Wen v. General Motors LLC, and issued virtually the

same subpoena to ZF ASE in that case. Subpoena to ZF ASE in Wen, Ex. E. During

meet-and-confer negotiations for the subpoenas in both cases, ZF ASE’s counsel

learned the Arizona court in Wen had previously limited the scope of discovery as a

result of a dispute between Plaintiff and defendant General Motors. The plaintiff in

Wen had sought disclosure of all information about General Motors’ work

developing, evaluating, and testing FCAT but did not limit the request by time, type

of FCAT, or vehicle. Discovery Order from Arizona court, Ex. F, pgs. 1-2. The

presiding judge concluded the requests were too broad and incorporated irrelevant

discovery. Id. at pg. 4. She ruled, “The Court finds that the relevant information is

at least limited to camera or fusion (that with both camera and radar sensing)

technology for detection of pedestrian or bicycle.” Id.

      Despite the order in Wen, Plaintiff’s co-counsel advised that he “fully

expect[ed] ZF to produce all documents responsive to our subpoena, and to produce




                                          3
Case 2:20-mc-50410-SFC-DRG ECF No. 1, PageID.11 Filed 03/13/20 Page 11 of 21




a knowledgeable witness, as required by law.” E-mail from Plaintiff’s counsel dated

December 2, 2019, Ex. G.

      In accordance with the interim agreement, ZF ASE has produced 125 pages

of non-confidential brochures and marketing materials customer presentations from

2006 to 2009. E-mail from ZF ASE’s counsel forwarding document production

dated February 26, 2020, Ex. H. ZF ASE has not yet produced confidential

documents in Hesselbacher because the parties have not filed a stipulation extending

the current protective order to ZF ASE’s documents. Because the protective order

in the other FCAT lawsuit, Wen, applies to ZF ASE, it has produced 577 pages of

confidential and non-confidential documents in that case. E-mails from ZF ASE’s

counsel forwarding document productions, Ex. I. Despite ZF ASE’s compliance

with the initial interim agreement, Plaintiff’s counsel has twice revised the scope of

documents sought by first requesting documents closer in time to the manufacture

of the subject vehicle and then specifically seeking documents showing the distance

capabilities for pedestrian detection prior to model year 2013. E-mail exchanges

regarding revisions to document production scope, Ex. J. Plaintiff and ZF ASE

agreed to numerous extensions and further productions as part of meet-and-confer

efforts. Various e-mail exchanges regarding extensions and document productions,

Ex. K.




                                          4
Case 2:20-mc-50410-SFC-DRG ECF No. 1, PageID.12 Filed 03/13/20 Page 12 of 21




      Counsel for Plaintiff and ZF ASE continued to discuss the scope of the

subpoena, but they did not reach an agreement regarding the deposition scope and

document production, necessitating the filing of this Motion to Quash.

                    2. ARGUMENT AND AUTHORITIES

A.    Authority for Quashing a Subpoena

      A court for the district where subpoena compliance is required must quash or

modify a subpoena which “subjects a person to undue burden.” FED. R. CIV. P.

45(d)(3)(A)(iv).   The court may quash or modify the subpoena if it requires

“disclosing a trade secret or other confidential research, development, or commercial

information.” FED. R. CIV. P. 45(d)(3)(B)(i). Further, a court, on good cause shown,

may issue discovery orders to “protect a party or person from annoyance,

embarrassment, oppression, or undue burden or expense, including…requiring that

a trade secret or other confidential research, development, or commercial

information not be revealed or be revealed only in a specified way.” FED. R. CIV. P.

26(c). These provisions provide overlapping protection to a non-party responding

to a subpoena. Spartanburg Reg’l Healthcare Sys. v. Hillenbrand Indus., No. 1:05-

mc-107, 2005 U.S. Dist. LEXIS 30594 at *5-6 (W.D. Mich. 2005). Plaintiff’s

subpoena violates these protections, and the Court should quash it. See also Wells

Fargo Bank, N.A. v. MPC Investors, LLC, No. 09-CV-11249, 2010 U.S. Dist. LEXIS




                                         5
Case 2:20-mc-50410-SFC-DRG ECF No. 1, PageID.13 Filed 03/13/20 Page 13 of 21




84600, *8 (E.D. Mich. Aug. 2, 2010) (“Rule 45(c)(3) [now 45(d)(3)] requires the

Court to quash or modify a subpoena that . . . subjects a person to undue burden.”).

B.    Plaintiff’s Subpoena is Unduly Burdensome

      This court and other District Courts in Michigan detail the boundaries of

subpoenas to non-parties. When assessing the burden created by a subpoena, “the

Court must weigh the burden of compliance against the potential value of the

information sought.” Hansen Beverage Co. v. Innovation Ventures, LLC, No. 2-09-

mc-50356, 2009 U.S. Dist. LEXIS 46217 at *2 (E.D. Mich. 2009) (citation omitted).

Courts consider the following factors: relevance; need; confidentiality; harm; and

breadth of the request. Spartanburg, 2005 U.S. Dist. LEXIS 30594 at *5-6; see also

Wiwa v. Royal Dutch Pet. Co., 392 F.3d 812, 818 (5th Cir. 2004).

      As detailed in the Affidavit of Emanuel Goodman and ZF ASE’s Objections

and Responses to Plaintiff’s Subpoena, Plaintiff seeks a very broad scope of

discovery from ZF ASE, even though ZF ASE is not a party. Goodman Affidavit,

Ex. B. The deposition topics seek any and all information related to FCAT products

that ZF ASE offered for sale and/or use to any OEM from 2004 to 2013, while the

document requests seek a vast range of design, development, and commercial

documents for ZF ASE’s FCAT products in the same time range. See Ex. C; Ex. B,

¶ 5. The subpoena is not limited to a particular FCAT product, application, vehicle

model year, manufacturer, specific defect allegation, or any other limiting factor. Id.



                                          6
Case 2:20-mc-50410-SFC-DRG ECF No. 1, PageID.14 Filed 03/13/20 Page 14 of 21




      ZF ASE supplied configurations of various types of DAS products to many

OEMs for installation in multiple distinct vehicle lines from 2007 to 2016. See Ex.

B, ¶ 6. The scope of Plaintiff’s subpoena includes DAS products supplied by ZF

ASE for no less than 22 platforms for at least six OEM customers. Id. ZF ASE

creates numerous commercial, marketing, design, and development documents for

each unique DAS configuration. Id. at ¶ 7.

      The process of locating records responsive to Plaintiff’s subpoena is a time-

intensive, labor-intensive task involving searches of onsite and offsite repositories.

Id. at ¶¶ 7-8. For the Wen lawsuit, ZF ASE employees spent 15 hours just searching

for the 298 pages of the first set of documents produced in December 2019 subject

to the interim agreement with Plaintiff’s counsel. Id. at ¶ 9. ZF ASE employees

expended additional hours for the two subsequent productions of 279 pages in Wen

associated with Plaintiff’s ever-changing scope requests. See Exs. I, J. ZF ASE’s

repeated, extensive efforts to reach a compromise – and Plaintiff’s continually

evolving definition of necessary documents despite those efforts – further

demonstrate the burden ZF ASE would suffer if forced to comply with the subject

subpoena.

      In a typical automotive product liability case where ZF ASE is a party and a

single ZF ASE product in one vehicle is at issue, ZF ASE employees routinely

expend dozens, and sometimes even more than 100 hours, searching for, gathering,



                                          7
Case 2:20-mc-50410-SFC-DRG ECF No. 1, PageID.15 Filed 03/13/20 Page 15 of 21




and reviewing potentially responsive documents. Id. at ¶ 10. Given the incredibly

broad scope of Plaintiff’s subpoena, the typical time estimation to search for

documents and information would increase by many multiples in this case. Id. The

search cannot be completed without expending an extremely large and burdensome

number of man-hours. Id. Because such a drain of resources would harm ZF ASE,

Plaintiff’s unduly burdensome and overbroad subpoena should be quashed.

C.    Plaintiff’s Subpoena Requires Disclosure of Confidential Information

      The burden of demonstrating the information at issue is confidential rests with

ZF ASE. Spartanburg, 2005 U.S. Dist. LEXIS 30594 at *6. If ZF ASE demonstrates

the information and documents requested by Plaintiff’s subpoena are confidential

and that disclosure of such would subject it to harm, the burden then shifts to Plaintiff

to establish that the requested documents are both relevant and necessary. Id. If

Plaintiff can satisfy his burden, the Court must then balance Plaintiff’s need for the

information against the potential harm to ZF ASE by its disclosure. Id.

      ZF ASE presents affidavit testimony from Mr. Emanuel Goodman

establishing the information and documents sought by Plaintiff are confidential that

would subject ZF ASE to significant harm if disclosed. See Ex. B, ¶¶ 12-17. The

documents requested by Plaintiff, and the engineering and commercial information

they contain or embody, are confidential commercial information that gives ZF ASE

a significant commercial advantage in its business. Id. at ¶ 13.



                                           8
Case 2:20-mc-50410-SFC-DRG ECF No. 1, PageID.16 Filed 03/13/20 Page 16 of 21




      ZF ASE has expended substantial costs for manpower, capital, facilities, and

equipment used in designing, manufacturing, and testing its DAS products. Id. at ¶

16. If that information were to be revealed to ZF ASE’s competitors, they would be

able to use such information to ZF ASE’s substantial economic detriment and

without those competitors having to incur any costs to develop any of the valuable

technical information embodied in ZF ASE’s manufacturing drawings and

engineering and testing records. Id.

      Plaintiff’s subpoena is particularly invasive of ZF ASE’s confidential

information because it requires ZF ASE to produce pricing documents for other

OEMs to all parties in this lawsuit, including Ford. Id. at ¶ 15. Such pricing

information is highly proprietary and trade secret, and production of pricing

information for one OEM to another OEM (Ford) could result in significant

economic harm to ZF ASE and put ZF ASE at a serious disadvantage in its

commercial dealings with Ford. Id.

D.    Plaintiff Cannot Demonstrate ZF ASE’s Confidential Business
      Information is Relevant or Necessary

      The harm caused by the irrelevant and overly broad subpoena demands alone

justifies quashing Plaintiff’s subpoena.       But because ZF ASE established the

information at issue is trade secret and disclosure would subject it to harm, Plaintiff

must demonstrate the information is relevant and necessary. Relevance cannot be

based upon “a theoretical argument that the requested information somehow relates

                                           9
Case 2:20-mc-50410-SFC-DRG ECF No. 1, PageID.17 Filed 03/13/20 Page 17 of 21




to an action pending in another district.” Spartanburg, 2005 U.S. Dist. LEXIS 30594

at *6 (citing Allen v. Howmedica Leibinger, 190 F.R.D. 518, 526 (W.D. Tenn.

1999)). Plaintiff must be able to demonstrate the “linkage between the discovery

sought and admissible evidence.” Id.

      Plaintiff cannot establish ZF ASE’s confidential information is relevant or

necessary to his claims or demonstrate any linkage to admissible evidence. ZF ASE

did not supply the pedestrian or cyclist avoidance features at issue for the subject

vehicle, but Plaintiff demands ZF ASE provide a deposition regarding any and all

information related to its FCAT products from 2004 to 2013 without any OEM or

vehicle limitation and search for and produce multiple, broad-ranging categories of

voluminous confidential documents.

      During meet-and-confer communications, Plaintiff’s counsel failed to

articulate how the requested information is relevant to his client’s claims or

necessary to the adjudication of the underlying action, but he expects ZF ASE “to

produce all documents responsive to our subpoena, and to produce a knowledgeable

witness.” See Ex. G. Plaintiff already attempted this tactic in the Wen lawsuit with

General Motors by seeking any and all information about General Motors’ work on

FCAT products. Given that Judge Brnovich significantly limited relevant discovery

to camera or fusion technology for detection of pedestrians or cyclists in Wen, most

of the materials sought in Plaintiff’s subpoena are indisputably irrelevant. See Ex.



                                        10
Case 2:20-mc-50410-SFC-DRG ECF No. 1, PageID.18 Filed 03/13/20 Page 18 of 21




F. Plaintiff’s counsel now believes the scope of discovery for non-party ZF ASE

should be broader than the scope ordered for the defendant in the Wen lawsuit
                                             1
involving similar issues and claims.              He should not be permitted to conduct

discovery previously prohibited by a judge in a similar case.

       Any attempted argument for necessity fails because ZF ASE already produced

125 pages in Hesselbacher and 577 pages in Wen, including marketing, brochures,

and customer presentations showing the various DAS products offered by ZF ASE

for three distinct time periods and describing the functionality, characteristics, and

quality of those products. It was Plaintiff’s counsel who identified the scope of

necessary documents for the interim agreement and twice revised the scope despite

ZF ASE’s compliance with the prior agreements. Plaintiff needs nothing more from

ZF ASE to litigate his claims against Ford.

       A plaintiff who makes no attempt to obtain requested information from a

source other than a non-party “significantly undermines its claim of need.”

Spartanburg, 2005 U.S. Dist. LEXIS 30594 at *13. Plaintiff should be able to obtain

documents and information from Ford regarding what FCAT products ZF ASE and

other suppliers offered and the prices of those products. Ford presumably would

have possession of any commercial documents between ZF ASE and Ford regarding


1
 Plaintiff’s counsel wants to broaden not only the scope of FCAT products at issue but also the
OEMs and vehicles at issue. Ford’s and General Motors’ discovery is inherently limited to its own
documents, but Plaintiff now demands ZF ASE produce materials for all of its OEM customers.


                                                 11
Case 2:20-mc-50410-SFC-DRG ECF No. 1, PageID.19 Filed 03/13/20 Page 19 of 21




FCAT products on other Ford vehicles. Just like the plaintiff in Spartanburg,

Plaintiff has not exhausted his efforts to seek the information he requested from

sources other than ZF ASE. Therefore, even if the additional materials were relevant

to his claims, Plaintiff’s subpoena to non-party ZF ASE should be quashed.

      Finally, ZF ASE’s status as a non-party to the underlying litigation is a

“significant factor” for consideration in the undue burden analysis. In re Smirman,

267 F.R.D. 221, 223 (E.D. Mich. 2010).        This factor weighs heavily against

disclosure. Echostar Communs. Corp. v. News Corp. Ltd., 180 F.R.D. 391, 394 (D.

Colo. 1998). Courts in this district routinely hold that “obtaining information

available by less-obtrusive means is preferable to involving a non-party.” Hansen,

2009 U.S. Dist. LEXIS 46217 at *6 citing (Graham v. Casey’s Gen. Stores, 206

F.R.D. 251, 254 (D.C. Ind. 2002)). Here, Plaintiff failed to seek his requested

information with less-obtrusive measures such as publicly available sources or from

Ford. Plaintiff failed to take “reasonable steps to avoid imposing undue burden or

expense” on ZF ASE, as FED. R. CIV. P. 45(d)(1) requires. Combined with all other

factors of relevance, need, confidentiality, harm to ZF ASE, and the breadth of the

requests, ZF ASE’s status as a non-party further entitles it to protection against

Plaintiff’s broad demands.

                                 CONCLUSION




                                        12
Case 2:20-mc-50410-SFC-DRG ECF No. 1, PageID.20 Filed 03/13/20 Page 20 of 21




      Plaintiff’s subpoena demands are tremendously overbroad. They require non-

party ZF ASE to expend vast resources to collect and produce confidential materials

does not need, and did not seek from other, less intrusive sources. Accordingly, the

Court should grant this Motion to Quash and issue an order quashing Plaintiff’s

subpoena.


                                       Respectfully submitted,


                                       By: /s/ Seth D. Gould
                                              Seth D. Gould
                                              The Miller Law Firm, P.C.
                                              950 W. University Dr., Ste. 300
                                              Rochester, MI 48307
                                              Tel: (248) 841-9402
                                              Fax: (248) 652-2852
                                              sdg@millerlawpc.com
                                              Attorneys for ZF Active Safety and
                                              Electronics US LLC

                         CERTIFICATE OF SERVICE
      I certify a true and correct copy of the above instrument was served on all

counsel of record in the Arizona Lawsuit in accordance with the Federal Rules of

Civil Procedure on this 13th day of March 2020.

      G. Lynn Shumway                                      Via CMRRR and Email
      SHUMWAY LAW PLLC
      Brent Ghelfi
      GHELFI LAW GROUP PLLC
      4647 N. 32nd Street, Suite 230
      Phoenix, Arizona 85018



                                        13
Case 2:20-mc-50410-SFC-DRG ECF No. 1, PageID.21 Filed 03/13/20 Page 21 of 21




      shumway@carsafetylaw.com
      BrentGhelfi@GhelfiLawGroup.com
      Counsel for Plaintiff

      Patrick X. Fowler                                           Via Email
      Craig A. Logsdon
      Kristine L. Gallardo
      SNELL & WILMER L.L.P.
      One Arizona Center
      400 E. Van Buren, Suite 1900
      Phoenix, Arizona 85004-2202
      pfowler@swlaw.com
      clogsdon@swlaw.com
      Counsel for Defendant Ford Motor Company

      Thomas M. Ryan                                              Via Email
      Sara K. Ryan
      LAW OFFICE OF THOMAS M. RYAN
      2340 W. Ray Road, Suite 1
      Chandler, AZ 85224
      tom@ryanlawaz.com
      sara@ryanlawaz.com
      Counsel for Plaintiff


                                   /s/ Seth D. Gould
                                   Seth D. Gould




                                    14
